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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                         03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                         ECF Case

 This document relates to:
                                                         15-cv-9903 (GBD)(SN)
 Thomas Burnett, Sr., et al. v. The Islamic
                                                         ECF Case
 Republic of Iran, et al.

          PLAINTIFFS’ NOTICE OF MOTION FOR ENTRY OF PARTIAL
     FINAL DEFAULT JUDGMENT ON BEHALF OF THE ESTATE OF PETER F.
                               RAIMONDI
                                          (BURNETT 33)

       PLEASE TAKE NOTICE that upon the accompanying declaration of John M. Eubanks,

with exhibits, and the accompanying memorandum of law, Lenore Raimondi, as the Personal

Representative of the Estate of Peter F. Raimondi, respectfully moves this Court for an Order

awarding her (1) compensatory damages for pain and suffering in the same per estate amount

previously awarded by this Court regarding other estates of decedents killed in the terrorist attacks

on September 11, 2001; (2) economic-loss damages in accordance with the determinations

provided by Plaintiffs’ expert, Dr. Stan V. Smith; (3) prejudgment interest at the rate of 4.96

percent per annum, compounded annually for the period from September 11, 2001 until the date

of the judgment; (4) permission for Lenore Raimondi, as the Personal Representative of the Estate

of Peter F. Raimondi, to seek punitive damages or other damages at a later date; and (5) for all

other similarly situated Burnett Plaintiffs to submit applications for damages awards in later stages,

to the extent such awards have not previously been addressed.

       Plaintiffs’ request is made in connection with the judgment on default as to liability entered

against the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps, and the Central Bank
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of the Islamic Republic of Iran (collectively, “the Iran Defendants”) on January 31, 2017. 15-cv-

9903, ECF No. 85.

 Dated: June 26, 2024                              Respectfully submitted,

                                                   MOTLEY RICE LLC


                                                   /S/ John M. Eubanks_______
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